 

Case 9:20-0-0357 BREED STATES DISTRICE COURI > P22! 9
FOR THE NORTHERN DISTRICT OF TBKASst8c1 court

NORTHERN DIST. OF TX
FILED

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Plaintiff 8 -20CV3576-G
Vv. plate Civil Action No.
1G, (rion EE 3 Gos

COMPLAINT

 

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No response at this Point.

* Attach additional pages as needed.

 

 

 

Date \2:01:2020

Signature LO wston catty, Jncto
PrintName Winston Satter phe
Address 1301 Brier brooll clrive
City, State, Zip Desoto, Tht. SNS
Telephone O12. 5 ley | 5 5D

 
Case 3:20-cv-03576-G-BN Document 3 Filed 12/07/20 Page2of5 PagelD 6
EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Winston A. Satterwhite From: Dallas District Office
1301 Briarbrook Drive 207 S. Houston St.

Desoto, TX 75115 3rd Floor
Dallas, TX 75202

) B00: bolod: 4000

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Juan F. Munoz,
450-2020-06319 Intake Supervisor (972) 918-3607

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UO BOUOUOUO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vu, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or me Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue thaf#ve will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file sult may not be collectible.

tae

On behalf of the Commission -

 

 

od 2— :
For a 7 "5 9/9/2020
Encjosures(s) elinda F. McCallister, (Date Mailed)

District Director

Brandy Johnson

Employee Relations Manager
PPG

One Ppg Place

Pittsburgh, PA 15272
 

Case.3:20-cv-03576-G-BN Document 3 Filed 12/07/20 Page 3of5 PagelD 7

Enclosure with EE!
Form 161 (11/18)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely

- manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as

indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

if you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
 

28 44 (Rev. 6/17). TXND (Rev 06/17) CIVIL COVER SHEET

The JS 44 civil Cover sheet and the information contained herein neither lace nor lement the filing and service of pleadings oy other papers as required law, except as
Provided by local rules of court. This form, approved by the Judicial Conference of the United States in eptember 1974 is requied for the use of the Clerk of eeu for the
Purpose o; initiating the civi} docket sheet. (See INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

 

I. (a) PLAINTIFFS DEFENDANTS
(b) County of Residence of First Listed Plaintiff Do | las County of Residence of First Listed Defendant @ ri on Tavyart
(EXCEPT IN US. PLAINTIFF CASES) -=- : RECASES ONLY) ©
NOTE: INLAND CASES, USE THE LOCATION OF
OTE THER Ore OLVED.* OSE THE L
(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if k,

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Il. BASIS OF JURISDICTION (Place an "X" in One Box Only) IH. CITIZENSHIP OF
(For Diversity Cases Only) and One Box for Defendani)
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Plaintiff (U.S. Government Not a Party) Citizen of This State 1 O 1 Incosporated or Principal Place a4 we
of Business In This State
0 2 US. Government 04 Diversity Citizen of Another State 02 02 and Principal Place Os os
Defendant (Indicate Citizenship of Parties in Item I) pee Business In Another State
Citizen or Subject of a 93 93 Foreign Nation 06 96
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NATURE OF SUIT Place an "x" in One Box O

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0 130 Miller Act OD 315 Aipiane Product Product Liability Other
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(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION Brief description of cause:

VI REQUESTED IN O CHECK IF THIsI

°

COMPLAINT:
Vill. RELATED CASE(S)
F ANY

 

 

S A CLASS ACTION DEMAND $

UNDER RULE 23, F.RCv.P.

(See instructions):

JUDGE

 

Violation of Coupany Policies ¥ Fived uniuatl,

CHECK YES only if demandedh complaint."
JURY DEMAND: 0 Yes ONo

 

 

I DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

 

RECEIPT # APPLYING IFP
ID9
3:20-cv-03576-G-BN Document 3 Filed 12/07/20 Page5of5 Page
38 44 Rovers 06/17) TXND (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the Purpose of initiating the civil docket sheet. Consequently, a civil cover Sheet is submitted to the Clerk of
Court for each civil complaint filed. The attomey filing a case should complete the form as follows:

L(a) Plaintiffs-Defendants, Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the Plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff Cases, enter the name of the County where the first listed plaintiff resides at
the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section "(see attachment)",

Ii, Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in Pleadings. Place an
"X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question, (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where Parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section II below; NOTE: federal question actions take precedence over diversity

TH. Residence (citizenship) of Principal Parties. This Section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
code that is most applicable. Click here for: Nature of Suit Code Descriptions,

V. Origin. Place an "Xx" in one of the seven boxes.
Original Proceedings. ( 1) Cases which Originate in the United States district courts,
Removed from State Court. (2) Proceedings initiated in State courts may be removed to the district courts under Title 28 U.S.C., Section 1441,
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers,
Multidistrict Litigation — Transfer. (6) Check this box when 8 multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407,
Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket,
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7, Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue,

same parties and is based on the same or similar claim; 2) involves the same Property, transaction, or event; 3) involves substantially similar issues of
law and fact: and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature, Date and sign the civil cover sheet.
